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UNITED STATE DISTRICT COURT
DISTRICT COURT OF MASSACHUSETTS

RAYMOND LAPOINTE,
Plaintiff
vs. C.A NO: l:l6-CV-10532-MPK

SILKO MOTOR SALES, INC.,

Defendant

MEMORANDUM IN SUPPORT OF DEFENDANT SILKO MOTOR SALES INC.’S
MOTION FOR SUMMARY JUDGMENT

I. SUMMARY OF FACTS

The Plaintiff, Raymond Lapointe, has brought this action for personal injuries allegedly
sustained on July 10, 2013 as a result of a fall at the Defendant, Silko Motor Sales lnc.’s, auto
dealership in Raynham, Massachusetts. (SOF il 1 .) At the time of the alleged fall, Mr. Lapointe
was employed by the Patriot Franchise Group d!b!a Jan-Pro Cleaning Systems (herein J an Pro)
which had contracted with Silko Motor Sales to provide cleaning services for its facilities (Id.
1111 2 and 3.) Jan Pro’s contract with Silko Motor Sales included: “Special Custorner
Instructions” - “machine scrub all service floors 6x per week” With Silko Motor Sales providing
a degreaser for service floor cleaning. (Id. 11 5.)

The franchisee of J an Pro who was to clean the auto dealership the night of the alleged
incident could not perform its services, and unable to find a cleaning company to replace the
franchisee, Mr. Lapointe cleaned the facilities by himself (Id. 116 and 7.)

Mr. Lapointe arrived at Silko Motor Sales’s auto dealership at approximately 7:00 PM. (Id.
il 8.) There are two buildings at the dealership: one for used car sales and the other for new car

sales. (Id. 11 9.) As the used car sales building was already closed, Mr. Lapointe cleaned that

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building first, and at approximately 10:00 PM, he began cleaning the new car building. (Id. 11 10
and ll.)

The Plaintiff first cleaned the offices of the new car building, then the auto dealership
showroom, followed by the restrooms. (Id. 11 12.) After those areas were cleaned, he intended
to dispose of the trash he had collected in a dumpster outside the building (Id. il 13.) Mr.
Lapointe was walking towards the back doors to push the button to open the doors when he fell.
(Id.) He testified he lost his balance and fell while he Was walking around the pallet. (Id. 11 14.)
After his fall, Mr. Lapointe observed oil on the floor of the service department floor near the
pallet of engine parts. (Id. il 15.) He described an approximately 8 inches in diameter and 1f16
inch deep puddle or coating of oil or transmission fluid on the floor. (Id. il 16.) He did not
observe fluid dripping from the parts on the pallet, nor does he know how long the oil was
present on the floor before he fell. (Id. il l? and 18.)

AHer he fell, Mr. Lapointe took out the trash and cleaned the service area floor at the new
car building (Id. il 19.) He cleaned the oil from the floor with an auto scrubber machine. (Id. il
20.) Mr. Lapointe’s employer, J an Pro was responsible, pursuant to its contract with Silko Motor
Sales, to clean the area where the Plaintiff fell. (Id. 11 21.)

An auto scrubber machine was used when cleaning the service area floor which utilizes a
cleaning solution, rotating brush, and vacuum. (Id. 122 and 23.) In addition to the auto
scrubber, pursuant to the contract, a degreaser was used to clean the service department floors.
(Id. 11 24.) Mr. Lapointe had cleaned Sill<o Motor Sales’ dealership facilities previously without

assistance and testified typically there was oil and grease everywhere in the service area. (Id. il

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25 and 26.)] 'l`he lights were on in the service department as he was cleaning and he described
the lighting as excellent (Id. 1[ 27.)

Mr. Lapointe never reported this incident to Silko Motor Sales. (Id. il 28.) Silko Motor
Sales did not receive notice of his fall until it was served with a copyr of the Complaint in April

0f2016. (Id.1129.)

II. STANDARI) 0F REVIEW

Pursuant to Fed. R. Civ. P. 56(0), “[a] party may move for summary judgment, identifying
each claim or defense or the part of each claim or defense on which summary judgment is
sought. The court shall grant summary judgment if the movant shows that there is no genuine
dispute as to any material fact and the movant is entitled to judgment as a matter of law.”

Entry of summary judgment is mandated, after adequate time for discovery and upon motion,
against a party who fails to make a showing sufficient to establish that existence of an element
essential to that party's case and on which that party will bear the burden of proof at trial.
Celotex Corp. v. Catrett, 477 U.S. 31?, 106 S. Ct. 2548, 91 L. Ed. 2d 265 (1986) “One of the
principal purposes of the summary judgment rule is to isolate and dispose of factually
unsupported claims or defenses and we think it should be interpreted in a way that allows it to

accomplish this purpose.” ld.

 

l Q. Now, in the past when you would use the auto scrubber on the jloor, would you clean up spots or oils or
other transmission jiuials?

A. Absolutely. You got to understand this entire floor, there was oil and grease everywhere People had
been working all day long This particular one was a puddle because the engine had leaked. But
typically there would be oil and grease everywhere Ana' the machine with the chemical that they
purchasedl it was a very good chemical and the machine did a very goodjoh, but l hadn’l gotten to that
point yet (Exhibit B - 62.'3-l6,

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III. ARGUMENTS
A. The Defendant owed no duty to the Plaintiff` an independent contractor, whose
injuries resulted from an inherent risk of improving a condition the plaintiff was
hired to correct.

As the Plaintiff was employed by J an Pro, who had a contractual obligation to clean the
service department floors, he cannot maintain this action. lt has long been the law in the
Commonwealth that where an independent contractor is retained to perform certain work, and
the employer retains no control over the manner in which the work is to be done, “it is to be
regarded as the contractor’s own enterprise, and he, rather than the employer, is the proper party
to be charged with the responsibility of preventing the risk and bearing and distributing it.”
Corsetti v. St'one Co., 396 Mass. l, 10, 483 N.E.2d 793, 798 (1985) citing Restatement (Second)
of Torts § 409 comment b (1965).

The Supreme J udicial Court held that the duty and standard of care owed to independent
contractors was the same owed to any lawful visitor to the premises. Pot`rier v. Town of
Plymouth, 3'?4 Mass. 206, 228, 372 N.E.2d 212, 227 (19'?8). The duty and standard of care
owed by the property owner to an employee of an independent contractor would be the same as
that owed to all of the lawful visitors on the premises “reasonable and appropriate under all
circumstances lai at 227-228.

The standard set forth in Poirier did not, however, preclude employers of independent
contractors from allocating risk so that one who employs an independent contractor will not be
liable for injuries to the employee of the independent contractor when such injuries are inherent
to the work being performed la’. Those risks which are inherent are considered “ordinary risks”
whereas “extraordinary ri sks” are created by the negligence of the party who employed the

independent contractor- ld. In differentiating between “ordinary” and “extraordinary” risks, the

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SJC stated that ordinary risks include those that are “truly obvious risks, knowingly and
voluntarily undertaken.” la'. at 226-227.

The court recognized that “there are instances of hazardous employment where an
independent contractor is engaged to do a particular task which presents inherent risk to the
employees of that contractor.” ld. A repairman should not recover for injuries resulting from an
inherent risk of improving the condition they were hired to correct West. v. United States, 361
U.S. 118 (1959), Hili v. Texaco, 674 F.2d 447 (5th Cir.l982); Peters v. Titan Nav. Co,, 857 F.2d
1342 (9“‘ Cir.19ss)_

The Plaintiff`, in this matter, was the employee of` an independent contractor. He was at the
Defendant’s premises pursuant to a written agreement that required that the service department
floors for the auto dealership be cleaned. An auto scrubber with a degreaser was utilized for the
purposes of cleaning fluids from the floor. From his prior visits to Silko Motor Sales, Mr.
Lapointe was aware that such fluids could be found anywhere, if not everywhere, on the service
department floor.

The Plaintiff in this matter was injured by a condition he was hired to correct. His
employer was under a contractual obligation to clean fluids from the service department floor,
and therefore, slipping on such fluids was an inherent risk in the work performed by Mr.
Lapointe for Silko Motor Sales. The contractual agreement between the Plaintiff`s employer and
Silko Motor Sales clearly delineates the responsibilities of J an Pro and its employees and
allocates the risks associated with cleaning of what was unquestionably a known condition to the
Plaintiff.

Mr. Lapointe acknowledged it was his responsibility to clean up the fluid that allegedly

caused him to slip, and in fact, he did clean it after his fall. While Mr. Lapointe alleges the

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defect was hidden by a pallet stocked with auto parts, he acknowledges looking at the button to
open the door rather than the floor as he walked in the well-lit service department

The facts presented to the Court in this matter are in accord with the ordinary/ inherent risks
referenced in Poirier. The hazard of oil or other fluids being present on the service department
floor was obvious and known to the Plaintiff By way if its contract with Silko Motor Sales, .l an
Pro assumed the responsibility for cleaning the service room floor to remove such fluids. Mr.
Lapointe, performing this task on behalf of his employer, cannot now argue the hazards or
dangers involved were extraordinary as it was plainly known to him by the terms of the contract
and by his experience

B. The Defendant has no duty to warn of known or obvious dangers or risks.

A landowner has no duty to warn if the risk is obvious to persons of average intelligence
O'Sullivan v. Shaw, 431 Mass. 201, 204, 726 N.E.2d 951, 954-55 (2000) (The open and obvious
danger rule precludes any duty to warn a plaintiff not to dive headfirst into the shallow end of a
swimming pool. “Plain common sense, bolstered by the weight of authority in other jurisdictions
where this issue has been addressed, convince us that this conclusion is indisputably correct.”)
See also Young v. Atlantic Richjield Co., 400 Mass. 837, 512 N.E.Zd 272, 276 (1987) (holding
that the owner of a gasoline service station was under no duty to post a sign warning its patrons
to be aware of other automobiles in the area.) and Lyon v. Morphew, 424 Mass. 828, 833, 678
N.E.2d 1306, 1310 (1997) (The dangers of working on a roof are obvious.)

The Defendant contends there was no duty to warn as the presence of oil on the service
department floor was well known to the Plaintiff as evidenced by his deposition testimony and

the terms of the contract Any such warning would have been superfluous, for a person already

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aware of the potential risk. Dos Santos v. Coleta, 465 Mass. 148, 154, 987 N.E.2d 1187, 1192
(2013).

C. The Plaintiff sboliated evidence by removing the fluid from the service
department floor thereby preiudicing the Defendant.

The doctrine of spoliation “is based on the premise that a party who has negligently or
intentionally lost or destroyed evidence known to be relevant for an upcoming legal proceeding
should be held accountable for any unfair prejudice that results.” Keene v. Brighain & Wornenis'
Hosp., lnc., 439 Mass. 223, 234, 786 N.E.2d 824, 832 (2003). §§ Kippenhan v, Chaullc Servs.,
lnc., 428 Mass. 124, 127, 697 N.E.2d 527, 530 (1998) (negligent destruction of evidence is
sufficient to constitute spoliation).

The duty to preserve evidence arises at the time the party is aware that the evidence might
be relevant to potential litigation. Keene, 439 Mass. at 23 4.

Sanctions for spoliation should be tailored to remedy the unfairness occasion by the
spoliation. Fletcher v, Dorchester Mut. lns. Co., 427 Mass. 544, 551, 773 N.E.Zd 420 (2002).

Following his slip and fall, Mr. Lapointe cleaned the service department floor removing
the alleged fluid leak which caused his fall. The Plaintiff did not notify the Defendant of the
incident until the filing and service of the Complaint in April 2016.

These actions by the Plaintiff precluded the Defendant from conducting any
contemporaneous investigation into the incident lt was three years after his fall that Mr.
Lapointe provided notice to Silko Motor Sales by serving his Complaint. Given the service
department for Silko Motor Sales services numerous vehicles on a daily basis and said work
involves the removal andior replacement of parts as well as the draining of fluids, it would be
impossible, three years later, Silko Motor Sales’s employees to have a recollection of the work it

performed in the service department or the existence of fluids on the floor of the new car

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building’s service department the day of Mr. Lapointe’s fall. lnquiry was made in this regard
and as one would expect none of the technicians or management of Silko Motor Sales could
recall details of that day.

By removing the alleged defect and failing to notify Silko Motor Sales of the incident, the
Plaintiff has significantly prejudiced the Defendant. Consider that should this matter proceed to
trial, Silko Motor Sales will have been precluded from offering direct eyewitness testimony as to
the condition of the service department floor at the time of the incident. Rather, Silko Motor
Sales will be required to rely merely upon its policies and procedures concerning the clean-up of
fluid leaks in the service department

While the Defendant appreciates Mr. Lapointe may not have understood the significance
of retaining the evidence at the time of his fall, the prejudice to Silko Motor Sales is such that
dismissal would be an appropriate sanction where the spoliation is compounded by the Plaintiffs
failure to give immediate notice of his fall and injuries. This failure has effectively precluded the

Defendant from contesting the existence of the alleged fluid that caused the Plaintiff to fall.

IV. CoNCLusloN
Wherefore, the Defendant, Silko Motor Sales, Inc. requests summary judgment enter in its
favor and the Plaintiff, Raymond’s, Complaint be dismissed.

lsi John F. Gleavy

 

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from the court

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